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                           UNITED STATES DISTRICT COURT FOR

                                 THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                            8:05CR250
                                    )
            v.                      )
                                    )
JOLENE CORTEZ,                      )                          FINAL ORDER OF
                                    )                          FORFEITURE
                  Defendant.        )
____________________________________)


               This matter comes on before the Court upon the United States’ Motion for Final

Order of Forfeiture and Memorandum Brief (Filing No. 49). The Court has reviewed the record

in this case and finds as follows:

               1. On October 24, 2005, the Court entered a Preliminary Order of Forfeiture

pursuant to the provisions of Title 21, United States Code, Sections 846 and 853, based upon the

defendant's plea of guilty to Counts I and IV of the Indictment filed herein. By way of said

Preliminary Order of Forfeiture, the defendant’s interest in $2,775.00 in United States currency

was forfeited to the United States.

               2. On November 10, 17 and 24, 2005, the United States published in a newspaper

of general circulation notice of this forfeiture and of the intent of the United States to dispose of

the property in accordance with the law, and further notifying all third parties of their right to

petition the Court within the stated period of time for a hearing to adjudicate the validity of their

alleged legal interest(s) in said property. An Affidavit of Publication was filed herein on

December 7, 2005 (Filing No. 43).
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               3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

               4. Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

Accordingly,

               IT IS ORDERED:

               A. Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

               B. All right, title and interest in and to the subject property, i.e., $2,775.00 in

United States currency, held by any person or entity, is hereby forever barred and foreclosed.

               C. The subject property, i.e., $2,775.00 in United States currency, be, and the

same hereby is, forfeited to the United States of America .

               D. The United States Marshal for the District of Nebraska is directed to dispose

of said property in accordance with law.

               DATED this 22nd day of December, 2005.

                                              BY THE COURT:

                                              /s/ Lyle E. Strom
                                              ______________________________
                                              LYLE E. STROM, JUDGE
                                              United States District Court
